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JASON D. WRIGHT
ADMITTED IN NEW YORK. VIRGINIA
AND THE DISTRICT OF COLUMBIA
OF COUNSEL

October 3, 2019
Filed by ECF
The Honorable Edward R. Korman
United States District Court
Eastern District of New York

225 Cadman Plaza East
Brooklyn, New York 11201

Re: United States v. Aleksandr Zhukov, 18-CR-633 (ERK)
Dear Judge Korman:

I write on behalf of Aleksandr Zhukov in the above-referenced case to consent to
an exclusion of time under the Speedy Trial Act from the date of the last week’s scheduled
conference for which Mr. Zhukov was not produced to today, the rescheduled date.

Respectfully submitted,

/s/
Andrew J. Frisch

cc: All Counsel

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